                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:22-CR-00016-RJC-SCR
 USA                                        )
                                            )
    v.                                      )              ORDER
                                            )
 JUAN OCTAVIO IRIBE LAVEAGA                 )
                                            )


         THIS MATTER is before the Court upon motion of the defendant for

compassionate release under 18 U.S.C. § 3582(c)(1)(A), as amended by the First

Step Act of 2018, (Doc. No. 45), the government’s response, (Doc. No. 50), and the

defendant’s motions to compel the production of documents, (Doc. Nos. 46, 47).

         Section 603(b) of the First Step Act amended § 3582(c)(1)(A), which

previously only allowed a court to reduce a term of imprisonment on motion of the

Director of the Bureau of Prisons (BOP). Now a court may entertain a motion filed

by a defendant: (1) after full exhaustion of all administrative rights to appeal a

failure of the BOP to bring a motion on the inmate’s behalf; or (2) after the lapse of

30 days from the receipt of such a request by the warden of the facility, whichever is

earlier. The defendant cannot obtain relief from this Court when he has not first

sought it through the warden at his facility. United States v. McCoy, 981 F.3d 271,

283 (4th Cir. 2020) (defendant required to exhaust remedies with warden before

filing motion with court). This exhaustion requirement is a non-jurisdictional
claim-processing rule that may be waived or forfeited by the government. United

States v. Muhammad, 16 F. 4th 126, 130 (4th Cir. 2021).

       Here, the government has raised the issue, (Doc. No. 50 at 4), and the

defendant has not shown that he has met the requirements of § 3582(c)(1)(A).

Therefore, he is not entitled to relief. United States v. Raia, 954 F.3d 594, 595 (3d

Cir. 2020).

       IT IS, THEREFORE, ORDERED that the defendant’s motion for

compassionate release, (Doc. No. 45), is DENIED.

       IT IS FURTHER ORDERED that the defendant’s motions to compel, (Doc.

Nos. 46, 47), are DISMISSED as moot.

       The Clerk is directed to certify copies of this Order to the defendant and the

United States Attorney.
 Signed: August 14, 2024




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